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OAO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                      EASTERN District of CALIFORNIA

                   United States of America                         )
                              v.                                    )
                                                                    )   Case No:   1:02CR005094-002
              DANIEL MARTINEZ SANDOVAL
                                                                    )   USM No: 60509-097
Date of Previous Judgment: 05/21/2003                               )   David Porter, Asst. Federal Defender
(Use Date of Last Amended Judgment if Applicable)                   )   Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of X the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.    X GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 144           months is reduced to 138 months                 .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    29            Amended Offense Level:                                               27
Criminal History Category: VI            Criminal History Category:                                           VI
Previous Guideline Range: 144 to months  Amended Guideline Range:                                             130       to 144   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
X The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):




III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated 05/21/2003                  shall remain in effect.
IT IS SO ORDERED.

Order Date:         May 22, 2008                                                          /s/ Lawrence J. O’Neill
                                                                                                 Judge’s signature


Effective Date:                                                                 Lawrence J. O’Neill, U.S. District Judge
                     (if different from order date)                                            Printed name and title
